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 8                                      UNITED STATES DISTRICT COURT
 9                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                                 SAN JOSE DIVISION
11

12                                                                     Civil Case Number: 5:22-cv-00501-BLF
      NATIONAL ASSOCIATION FOR GUN
13    RIGHTS, INC., a nonprofit corporation, and
      MARK SIKES, an individual,                                       BRADY’S MOTION FOR LEAVE TO
14                                                                     APPEAR AS AMICUS CURIAE AND TO
              Plaintiffs,                                              FILE AN AMICUS BRIEF IN SUPPORT
15                                                                     OF DEFENDANTS’ OPPOSITION TO
              v.                                                       PLAINTIFFS’ MOTION FOR
16
                                                                       PRELIMINARY INJUNCTION AND IN
17    CITY OF SAN JOSE, a public entity,                               SUPPORT OF DEFENDANTS’ MOTION
      JENNIFER MAGUIRE, in her official capacity                       TO DISMISS PLAINTIFFS’ FIRST
18    as City Manager of the City of San Jose, and the                 AMENDED COMPLAINT
      CITY OF SAN JOSE CITY COUNCIL,
19                                                                     Hearing Date on Motion for Preliminary
              Defendants.                                              Injunction: July 14, 2022
20
                                                                       Hearing Time: 9:00 a.m.
21                                                                     Location: Zoom Webinar

22                                                                     Hearing Date on Motion to Dismiss: August 4,
                                                                       2022
23                                                                     Hearing Time: 9:00 a.m.
                                                                       Location: Zoom Webinar
24

25
                                                                       Judge: Honorable Beth Labson Freeman
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     Brady’s Motion For Leave to Appear as Amicus Curiae and to File an Amicus Brief in Support of Defendants’ Opposition to
     Plaintiffs’ Motion for Preliminary Injunction and in Support of Defendants’ Motion to Dismiss Plaintiffs’ First Amended
     Complaint
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 1            Brady moves for leave to appear as amicus curiae and to file the attached brief in support of both
 2   Defendants’ Opposition to Plaintiffs’ Motion for Preliminary Injunction and in Support Of Defendants’
 3   Motion To Dismiss Plaintiffs’ First Amended Complaint in the above-captioned matter.
 4            “The district court has broad discretion to appoint amici curiae.” Hoptowit v. Ray, 682 F.2d 1237,
 5   1260 (9th Cir. 1982), abrogated on other grounds, Sandin v. Conner, 515 U.S. 472 (1995). When courts
 6   exercise their discretion to appoint amici, “there is no rule that amici must be totally disinterested.”
 7   Funbus Sys., Inc. v. State of Cal. Pub. Utilities Comm’n., 801 F.2d 1120, 1125 (9th Cir. 1986). Instead,
 8   amici are valuable wherever they can perform their “classic role” of “assisting in a case of general public
 9   interest, supplementing the efforts of counsel, and drawing the court's attention to law that escaped
10   consideration.” Miller-Wohl Co. v. Comm’r of Lab. & Indus. State of Mont., 694 F.2d 203, 204 (9th Cir.
11   1982).
12            Brady is the nation’s most longstanding nonpartisan, nonprofit organization dedicated to reducing
13   gun violence through education, research, and legal advocacy. Brady has a substantial interest in ensuring
14   that the Constitution is construed to protect Americans’ fundamental right to live. Brady also has a
15   substantial interest in protecting the authority of democratically elected officials to address the nation’s
16   gun violence epidemic. Brady has filed amicus briefs in many cases involving the regulation of firearms,
17   including New York State Rifle & Pistol Ass’n, Inc. v. Bruen, No. 20-843, 2022 WL 2251305, 597 U.S.
18   __ (2022); District of Columbia v. Heller, 554 U.S. 570 (2008), and Bauer v. Becerra, 858 F.3d 1216,
19   1219 (9th Cir. 2017).
20            Here, Brady seeks to assist the Court in deciding this important matter by adding to the parties’
21   briefing on the ways that the Ordinance’s insurance and fee requirements do not implicate the Second
22   Amendment, and would be constitutional even if they did. Brady’s proposed brief will explain in greater
23   detail how the insurance and fee requirements work; show how, properly understood, neither requirement
24   burdens Second Amendment conduct; and survey relevant historical sources to demonstrate that any
25   minimal burden that the requirements might impose is fully consistent with the Nation’s history of Second
26   Amendment regulation. Additional briefing on these issues is particularly necessary in light of the
27   Supreme Court’s recent decision in New York State Rifle & Pistol Ass’n, Inc. v. Bruen. As an organization
28
     Brady’s Motion For Leave to Appear as Amicus Curiae and to File an Amicus Brief in Support of Defendants’ Opposition to
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 1   that closely examines innovative legal approaches to gun violence, Brady is well-positioned to add to the
 2   briefing on these important gun-related issues.
 3           For the foregoing reasons, Brady respectfully requests that the Court grant this motion and accept
 4   for filing the accompanying amicus curiae brief.
 5

 6   Dated: July 11, 2022                               Respectfully Submitted,
 7                                                              COVINGTON & BURLING LLP
 8
                                                                /s/ Gretchen Hoff Varner
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 2

 3                                                              Attorneys for Amicus Curiae
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 1                                           CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on July 11, 2022, I electronically filed the foregoing with the Clerk
 3
     of Court by using the CM/ECF system, which will send notice of electronic filing to all counsel of record.
 4

 5

 6                                                                 /s/ Gretchen Hoff Varner
 7                                                                 Gretchen Hoff Varner (Bar No. 284980)
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